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                          IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE


In re:                                                  )        Chapter 11
                                                        )
W. R. GRACE & CO., et al., 1                            )        Case No. 01-01139 (AMC)
                                                        )        (Jointly Administered)
                  Reorganized Debtor.                   )
                                                        )

                                        CERTIFICATE OF SERVICE


         I, James E. O’Neill, hereby certify that on the 3rd day of September, 2021, I caused a

copy of the following document to be served on the individuals on the attached service lists in

the manner indicated:



 SUPPLEMENT TO THE REORGANIZED DEBTOR’S EMERGENCY MOTION FOR
 AN ORDER FINDING THAT RUNE KRAFT IS IN CONTEMPT OF THIS COURT BY
      HAVING WILLFULLY AND KNOWINGLY VIOLATED THIS COURT’S
  CONFIRMATION ORDER AND ITS ORDER OF AUGUST 26, 2021 [DOCKET NO.
 33256] BY FILING A MOTION FOR AN ARTICLE III COURT’S REVIEW OF THIS
                       COURT’S AUGUST 26 ORDER



                                                                 /s/ James E. O’Neill
                                                                 James E. O’Neill (Bar No. 4042)




    1    W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc., or “Grace”) is the sole remaining Reorganized Debtor and
         Case no. 01-1139 is the sole remaining open chapter 11 case.




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WR Grace – Rune Kraft Service List
Case No. 01-1139
Document No. 235269.2
02 – Overnight Delivery
02 – Email


OVERNIGHT AND EMAIL
Email: rk@kraft.legal
Rune Kraft, Esquire
Kraft Legal
108 West 13th Street
Wilmington, DE 19801

OVERNIGHT AND EMAIL
Email: ingrid.aronson@kraft.legal
Ingrid Aronson, Legal Assistant
Kraft Legal
1300 Pennsylvania Avenue, NW
Washington, DC 20004




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W. R. Grace NEW 2002 Service List              ELECTRONIC MAIL
Case No. 01-1139 (KJC)                         (Special Insurance Coverage Counsel to the
Doc. No. 226065                                Official Committee of Asbestos Personal
32– Electronic Mail                            Injury Claimants )
                                               Robert M. Horkovich, Esquire
                                               Anderson Kill P.C.
(Counsel to Reorganized Debtors)               1251 Avenue of the Americas
Laura Davis Jones, Esquire                     New York, NY 10020-1182
James E. O’Neill, Esquire                      Email: Rhorkovich@andersonkill.com
Pachulski Stang Ziehl & Jones LLP
919 N. Market Street, 17th Floor               ELECTRONIC MAIL
Wilmington, DE 19899-8705                      (Reorganized Debtor)
                                               W. R. Grace & Co.
ELECTRONIC MAIL                                Attn: Diane Borowy
(Counsel to Reorganized Debtor)                7500 Grace Drive
John Donley, Esquire                           Columbia, MD 21044
Lisa G. Esayian, Esquire                       Email: diane.borowy@grace.com
Kirkland & Ellis LLP
300 N. LaSalle                                 ELECTRONIC MAIL
Chicago, IL 60654                              (Counsel to BNSF Railway Company)
Email: john.donley@kirkland.com                David M. Fournier, Esquire
       lisa.esayian@kirkland.com               Troutman Pepper Hamilton Sanders LLP
                                               Hercules Plaza, Suite 5100
ELECTRONIC MAIL                                1313 N. Market Street
(Counsel to Reorganized Debtor)                PO Box 1709
Roger J. Higgins, Esquire                      Wilmington, DE 19899-1709
The Law Offices of Roger Higgins, LLC          Email: david.fournier@troutman.com
516 N. Ogden Ave, Suite 136
Chicago, IL 60642                              ELECTRONIC MAIL
Email: rhiggins@rogerhigginslaw.com            (Counsel to BNSF Railway Company)
                                               Edward C. Toole, Jr., Esquire
ELECTRONIC MAIL                                Troutman Pepper Hamilton Sanders LLP
(Counsel to Asbestos PI Trust)                 3000 Two Logan Square
Marla Rosoff Eskin, Esquire                    Eighteenth and Arch Streets
Mark T. Hurford, Esquire                       Philadelphia, PA 19103-2799
Campbell & Levine, LLC                         Email: edward.toole@troutman.com
222 Delaware Avenue, Suite 1620
Wilmington, DE 19801                           ELECTRONIC MAIL
Email: mhurford@camlev.com;                    (United States Trustee)
       meskin@camlev.com                       Richard L. Schepacarter, Trial Attorney
                                               Office of the US Trustee
                                               J. Caleb Boggs Federal Building, Suite 2207
                                               844 King Street
                                               Lockbox 35
                                               Wilmington, DE 19801
                                               Email: richard.schepacarter@usdoj.gov




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                                                ELECTRONIC MAIL
ELECTRONIC MAIL                                 (Counsel for Asbestos PD Trust (7A))
(Co-Counsel for Roger Frankel FCR)              Deborah D. Williamson, Esquire
John C. Phillips, Jr., Esquire                  Dykema Cox Smith
Phillips, Goldman & Spence, P.A.                112 E. Pecan Street, Suite 1800
1200 N. Broom Street                            San Antonio, TX 78205
Wilmington, DE 19806                            Email: dwilliamson@dykema.com
Email: jcp@pgmhlaw.com
                                                ELECTRONIC MAIL
ELECTRONIC MAIL                                 (Counsel for ZAI Claimants)
(Counsel to PD Future Claimant                  Edward J. Westbrook, Esquire
Representative)                                 Richardson, Patrick, Westbrook &
R. Karl Hill, Esquire                           Brickman, LLC
Seitz, Van Ogtrop & Green, P.A.                 1037 Chuck Dawley Boulevard., Building A
222 Delaware Avenue, Suite 1500                 Mt. Pleasant, SC 29464
PO Box 68                                       Email: ewestbrook@rpwb.com
Wilmington, DE 19899
Email: khill@svglaw.com                         ELECTRONIC MAIL
                                                (Counsel for Edward B. Cottingham, Jr.,
ELECTRONIC MAIL                                 ZAI Trustee))
(Counsel for Edward B. Cottingham, Jr.,         M. Dawes Cooke, Esquire
ZAI Trustee and the ZAI Claimants)              Barnwell Whaley Patterson & Helms LLC
William D. Sullivan, Esquire                    288 Meeting Street, Suite 200
Sullivan Hazeltine Allinson LLC                 Charleston, SC 29401
901 N. Market Street, Suite 1300                Email: mdc@barnwell-whaley.com
Wilmington, DE 19801
Email: bsullivan@sha-llc.com                    ELECTRONIC MAIL
                                                (Counsel to Asbestos PI Trust)
ELECTRONIC MAIL                                 Philip E. Milch, Esquire
(Counsel to Hon. Alex. M. Sanders Jr.,          Campbell & Levine, LLC
PDFCR)                                          1700 Grant Building
Alan B. Rich, Esquire                           Pittsburgh, PA 15219
Alan B. Rich Law Office                         Email: pmilch@camlev.com
7324 Gaston Ave., Suite 124,
LB 430,                                         ELECTRONIC MAIL
Dallas, TX 75214                                Thad Adkins, Assistant AGl
Email: alan@alanrichlaw.com                     Natural Resource Damages Program
                                                Montana Department of Justice
ELECTRONIC MAIL                                 P.O. Box 201425
(Trustee - Asbestos PD Trust (7A))              Ilelena, MT 59620
Richard B. Schiro, Esquire                      Email: thad.adkins@mt.gov
WRG Asbestos PD Trust
2706 Fairmount Street
Dallas, TX 75201-1958
Email: rbschiro@schirolaw.com




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ELECTRONIC MAIL                                ELECTRONIC MAIL
Jessica Wilkerson, Esquire                     (Counsel to Continental Casualty Company
MDEQ Legal Counsel                             and Transportation Insurance Company)
1225 Cedar Street                              Evan T. Miller, Esquire
Helena, MT 59601                               Bayard, P.A.
Email: jessica.wilkerson@mt.gov                600 N. King Street, Suite 400
                                               Wilmington, DE 19801
ELECTRONIC MAIL                                Email: emiller@bayardlaw.com
(Counsel for Anderson Memorial Hospital)
John D. McLaughlin, Esquire                    ELECTRONIC MAIL
Ferry Joseph, P.A.                             (Counsel to Continental Casualty Company
824 Market Street, Suite 1000                  and Transportation Insurance Company)
PO Box 1351                                    Michael S. Giannotto, Esquire
Wilmington, DE 19899                           Brian T. Burgess, Esquire
Email: jmclaughlin@ferryjoseph.com             Goodwin Procter LLP
                                               1900 N. Street NW
ELECTRONIC MAIL                                Washington, DC 20036
(Counsel for Anderson Memorial Hospital)       Email: mgiannotto@goodwinlaw.com
Daniel A. Speights, Esquire                    bburgess@goodwinlaw.com
A. Gibson Solomons, Esquire
Spieghts & Solomons, LLC                       ELECTRONIC MAIL
PO Box 685                                     (Counsel to Continental Casualty Company
Hampton, SC 29924                              and Transportation Insurance Company)
Email:                                         Elizabeth DeCristofaro, Esquire
dspeights@speightsandsolomons.com              Ford Marrin Esposito Witmeyer & Gleser,
gsolomons@speightsandsolomons.com              LLP
smurdaugh@speightsandsolomons.com              Wall Street Plaza, 23rd Floor
rbowers@speightsandsolomons.com                New York, NY 10005
                                               Email: edecristofaro@fordmarrin.com
ELECTRONIC MAIL
(Counsel for Anderson Memorial Hospital)
John W. Kozyak, Esquire
David L. Rosendorf, Esquire
Kozyak Tropin & Throckmorton, P.A.
2525 Ponce de Leon, 9th Floor
Coral Gables, FL 33134
Email: dlr@kttlaw.com
JK@kttlaw.com




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